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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 24-mj-8411-RMM

   UNITED STATES OF AMERICA

   vs.

   RYAN WESLEY ROUTH,

                  Defendant.
                           _          _ /

                                WRITTEN FACTUAL PROFFER
                            IN SUPPORT OF PRETRIAL DETENTION

          To assist counsel and the Court during today’s scheduled Pretrial Detention Hearing, the

   United States respectfully submits the following written factual proffer. The below paragraphs

   describe information the FBI has obtained through other members of law enforcement, witness

   interviews, the execution of search warrants and other legal process, forensic examinations and

   testing, and other standard means of investigation as part of an active and ongoing federal

   investigation. Because the facts are offered for the limited purpose of supporting the United

   States’s request for pretrial detention, the facts in this written proffer do not set forth all of the

   information and evidence known to the United States in this ongoing investigation.

                                                 FACTS

          1.      On September 15, 2024, former President of the United States Donald J. Trump

   was golfing at Trump International Golf Club in West Palm Beach (“Trump International”),

   located at 3505 Summit Boulevard, West Palm Beach, Florida, within Palm Beach County and the

   Southern District of Florida. As the former President advanced through the course, a Secret Service

   agent (“Agent”), who was part of the overall protective detail, moved ahead of him in a golf cart
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   and conducted a security sweep to identify any potential threats and to ensure the safety and

   security of the former President along the route.

          2.      The perimeter of Trump International is surrounded by a chain link fence, and the

   southeast corner of the course is screened by trees and brush. The 6th hole on the course is near

   the southeast corner, as shown on the map below:




          3.      While the former President was on the 5th hole, the Agent cleared the area along

   the 6th hole. Specifically, the Agent rode in a golf cart along the chain link fence that separated

   the 6th hole from Congress Avenue and Summit Boulevard.

          4.      At approximately 1:30 p.m., the Agent spotted the partially obscured face of a man

   in the brush along the fence line. The man was later identified as Ryan Wesley Routh (“ROUTH”).

   ROUTH’s position was directly in line with the 6th hole. The Agent then observed a long black

   object protruding through the fence and realized the object was the barrel of a rifle aimed directly


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   at him.        The Agent jumped out of the golf cart, drew his weapon, and began backing away. The

   Agent saw the rifle barrel move, and the Agent fired at ROUTH.

             5.        The Agent took cover behind a tree and reloaded his weapon, then looked up and

   saw that ROUTH was gone. The Agent called out over his radio that shots had been fired by the

   Agent and that there was a subject with a rifle.

             6.        The position ROUTH occupied when the Agent first noticed him was directly in

   line with the 6th hole green.

             7.        Former President Trump was playing the 5th hole when the Agent fired at ROUTH.

   Secret Service agents immediately removed the former President from the area upon hearing shots

   fired at the 6th hole.

             8.        Federal Bureau of Investigation (“FBI”) agents searched the area where ROUTH

   had been hiding in the tree line. FBI agents located an SKS semiautomatic 7.62x39 caliber rifle

   with a scope attached and an extended magazine. The rifle was loaded with a total of 11 rounds

   and had a round in the chamber. The serial number on the rifle was obliterated and unreadable.

   The agents also found a digital camera, a backpack and a reusable shopping bag hanging from the

   chain link fence, as shown in the photo below:

                                     [This Space Intentionally Left Blank]




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          9.      The backpack and shopping bag both contained plates. Subsequent preliminary

   ballistics testing showed the plates were capable of stopping small arms fire.

          10.     The photograph below shows the obliterated serial number:




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          11.      Shortly after the Secret Service Agent fired at ROUTH, a civilian driving in the

   area observed ROUTH running across Summit Boulevard toward a black Nissan Xterra, bearing

   a Florida license plate, parked nearby. The witness and ROUTH made eye contact. The witness

   observed ROUTH get into the vehicle and flee at a high rate of speed. The witness took

   photographs of the Nissan Xterra and wrote down all but the last digit of the license plate number.

   The witness immediately reported these observations to law enforcement.

          12.      Officers from the Palm Beach County Sheriff’s Office (“PBSO”) and Martin

   County Sheriff’s Office (“MCSO”) located the Nissan Xterra as it traveled northbound on I-95. At

   approximately 2:15 PM, MCSO initiated a motor vehicle stop. ROUTH was the driver and sole

   occupant of the vehicle.

          13.      During the stop, law enforcement transported the witness to the scene and the

   witness positively identified ROUTH as the same individual the witness had previously seen

   entering the Nissan Xterra after fleeing from Trump International.

          14.      Law enforcement discovered that the license plate on the Nissan Xterra was not

   registered to the Nissan Xterra. During a search of the Nissan Xterra, FBI agents found two

   additional license plates. The agents also found six cellphones. One of the cell phones contained

   a Google search of how to travel from Palm Beach County to Mexico. The agents also found 12

   pairs of gloves; a Hawaii Driver’s License in the Defendant’s name; a passport in the Defendant’s

   name; and documents, including the following:

          a. A handwritten list of dates in August, September, and October 2024 and venues where

                the former President had appeared or was expected to be present.




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          b. A notebook with dozens of pages filled with names and phone numbers pertaining to

                Ukraine, discussions about how to join combat on behalf of Ukraine, and notes

                criticizing the governments of China and Russia.

          15.      The FBI obtained cell site records for two of the cell phones found in the Nissan

   Xterra. The two cell phones are serviced by different carriers that utilize different cell towers.

   The FBI’s analysis shows the following:

          a. ROUTH traveled from the Greensboro, North Carolina, area, to West Palm Beach,

                Florida, on August 14, 2024.

          b. On multiple days and times from August 18, 2024, to September 15, 2024, ROUTH’s

                cell phone accessed cell towers located near Trump International and the former

                President’s residence at Mar-a-Lago.

          16.      The FBI examined the SKS rifle that was recovered from Trump International and

   found a latent fingerprint on a piece of tape attached to the rifle. The latent print preliminarily

   matches ROUTH. The photograph below shows the rifle:




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          17.     As part of this investigation, FBI agents recently reviewed a book apparently

   authored by ROUTH in February 2023 titled, “Ukraine’s Unwinnable War: The Fatal Flaw of

   Democracy, World Abandonment and the Global Citizen-Taiwan, Afghanistan, North Korea,

   WWIII and the End of Humanity.” In the book, ROUTH stated that he “must take part of the

   blame for the [person] that we elected for our next president that ended up being brainless, but I

   am man enough to say that I misjudged and made a terrible mistake and Iran I apologize. You are

   free to assassinate Trump as well as me for that error in judgment and the dismantling of the deal.

   No one here in the US seems to have the balls to put natural selection to work or even unnatural

   selection.”

          18.     On September 18, 2024, law enforcement was contacted by a civilian witness who

   stated that ROUTH had dropped off a box at his residence several months prior. After learning of

   the September 15, 2024, incident at Trump International, the witness opened the box. The witness

   stated the box contained ammunition, a metal pipe, miscellaneous building materials, tools, four

   phones, and various letters. One handwritten letter, addressed to “The World,” stated, among other

   things, “This was an assassination attempt on Donald Trump but I failed you. I tried my best and

   gave it all the gumption I could muster. It is up to you now to finish the job; and I will offer

   $150,000 to whomever can complete the job.” The witness took a photograph of the first page of

   the handwritten letter, as shown below:

                                 [This Space Intentionally Left Blank]




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          19.     The handwritten letter above goes on to state in part: “He [the former President]

   ended relations with Iran like a child and now the Middle East has unraveled.”

          20.     On or about December 20, 2002, ROUTH was convicted in Greensboro, North

   Carolina, of possession of a weapon of mass destruction (a “binary explosive device”), in violation

   of Section 14-288.8 of the North Carolina General Statutes, a class “F” felony. Class F felonies

   in North Carolina are punishable by terms of up to 59 months’ incarceration.

          20.     On or about March 3, 2010, ROUTH was convicted of multiple counts of

   possession of stolen goods, in violation of Section 14-71.1 of the North Carolina General Statutes,

   a class “H” felony. Class H felonies in North Carolina are punishable by terms of imprisonment

   of up to 39 months’ incarceration.




                                                        Respectfully submitted,

                                                        MARKENZY LAPOINTE
                                                        UNITED STATES ATTORNEY


                                                By:    /s/ Mark D. Dispoto
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on September 23, 2024, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on all counsel of record or pro se parties identified on the below Service List in the

   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or

   in some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.

                                                     s/   Mark D. Dispoto
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